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                 EXHIBIT C
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    Exhibit C – MDL Political Subdivision and School District Opt-out Actions

    The County of Westchester, et al. v. McKinsey & Company,       3:21-cv-
1
    Inc.                                                           05467
                                                                   3:21-cv-
2   The County of Genesee, et al v. McKinsey & Company, Inc.
                                                                   04386
                                                                   3:21-cv-
3   Madison County, Illinois v. McKinsey & Company, Inc., et al.
                                                                   04387
                                                                   3:21-cv-
4   St. Clair County, Illinois v. McKinsey & Company, Inc., et al.
                                                                   04642
    Green County Fiscal Court, et al. v. McKinsey & Company,       3:21-cv-
5
    Inc. United States, et al.                                     04536
                                                                   3:21-cv-
6   Cannon Township, et al. v. McKinsey & Company, Inc., et al
                                                                   04971
